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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      7/28/2020


PAMELA WILLIAMS,

                                            Plaintiff,                     20-CV-1596 (SN)

                          -against-                                             ORDER

BOB'S STORES, LLC,

                                             Defendant.
-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        Defendant’s June 17, 2020 letter, ECF No. 16, stated that the parties had reached a

settlement in principle and would file a consent decree for the Court’s approval within 30 days.

By July 31, 2020, the parties shall file either the consent decree or a letter updating the Court on

the status of the consent decree.

SO ORDERED.




DATED:           July 28, 2020
                 New York, New York
